Case No. 1:23-cv-02563-JLK Document 2-2 filed 10/01/23 USDC Colorado pg1of2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No.

ROCKY MOUNTAIN GUN OWNERS, and
ALICIA GARCIA,

Plaintiffs,
v.
JARED S. POLIS, in his official capacity as Governor of the State of Colorado

Defendant.

DECLARATION OF ALICIA GARCIA

1. My name is Alicia Garcia. I am over the age of 21 and have personal

knowledge of the matters set forth in this Declaration.

ae I am a law-abiding citizen of Colorado. I am affected by the C.R.S. § 18—
12-115 (the “Waiting Period Act” or the “Act”). In particular, I am affected by the
Act’s unconstitutional burden on the Second Amendment rights of law-abiding
citizens who purchase firearms.

3. On October 1, 2023, I went to Triple J Armory for the purpose of
acquiring a new lever action .357/.38 Special Henry rifle. I filled out all of the
necessary paperwork for my background check. I passed the background check and
paid the purchase price for my firearm. At this point, title the firearm transferred to
me. I requested J.D, Murphree (the owner of Triple J Armory) to deliver the firearm

to me. Mr. Murphree refused to do so, I asked why Triple J Armory was holding onto

Case No. 1:23-cv-02563-JLK Document 2-2 filed 10/01/23 USDC Colorado pg 2 of 2

my property and refusing to deliver it to me. Mr. Murphree responded that he was
required to do so because of the Waiting Period Act.

4. I asked if Triple J Armory disputed that title to the firearm had passed
to me, and Mr. Murphree assured me that it did not. I asked Mr. Murphree if there
were any reason other than the requirements of the Waiting Period Act why I could
not receive my property and take it with me. Mr. Murphree said there was none. The
Waiting Period Act’s requirements were the only reason he would not deliver the
property to her.

5. I am employed in the firearms industry and as such I purchase firearm
frequently. Accordingly, even if I receive delivery of my firearm described above while
this action is pending, this matter will not be moot. I will purchase another firearm
in the near future and when I do, I will be subjected to the same unconstitutional
burden described above.

I, Alicia Garcia, pursuant to 28 U.S.C. § 1746, declare under penalty of

perjury that I have reviewed the foregoing, that I am competent to testify in this

contained therein are true and correct.

jo tf dH
Ahexepirca / L~
Date: October ]/, 2023

